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                        EXHIBIT 2
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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                            BEAUMONT DIVISION

 MARK BARRY, M.D.,                          §
                                            §
         Plaintiff/Judgment Creditor,       §
                                            §
 v.                                         §          CIVIL ACTION NO.
                                            §          __________________
 WELLS FARGO BANK, N.A.,                    §
                                            §
         Garnishee,                         §
                                            §
 v.                                         §
                                            §
 MEDTRONIC, INC.,                           §
                                            §
         Defendant/Judgment Debtor.         §


                             WRIT OF GARNISHMENT

TO:

WELLS FARGO BANK, N.A.
c/o Corporation Service Company d/b/a CSC – Lawyers
       Incorporating Service Company
211 E. 7th St
Suite 620
Austin, TX 78701-3218

GARNISHEE, GREETINGS:

        Whereas, in the United States District Court for the Eastern District of Texas,

Beaumont Division, in the case styled, Mark Barry, M.D. v. Medtronic, Inc., Civil

Action No. 1:14-cv-104, wherein Plaintiff MARK BARRY, M.D. (“PLAINTIFF”)



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recovered a judgment on May 9, 2017 against Defendant MEDTRONIC, INC. as

follows:

       a. $15,095,970.00 for infringement of the ‘358 Patent within the United
          States; plus
       b. $3,019,194.00, which represents a twenty percent (20%) enhancement
          on the damages awarded for infringement of the ‘358 Patent within the
          United States; plus
       c. $2,625,210.00 for infringement of the ‘121 Patent within the United
          States; plus
       d. $525,042.00, which represents a twenty percent (20%) enhancement
          on the damages awarded for infringement of the ‘121 Patent within the
          United States; plus
       e. Prejudgment interest in the amount of $2,357,849.00; plus
       f. Costs of court; and
       g. Pursuant to 28 U.S.C. § 1961, post-judgment interest at the rate of
          1.07% per annum on damages awarded.

       Whereas, Plaintiff in the above-captioned matter filed with the clerk a written

application for a writ of garnishment against WELLS FARGO BANK, N.A.

(“WELLS FARGO”), as garnishee, Civil Action No. _____________________ on

the docket of said court.

       NOW, THEREFORE, WELLS FARGO is hereby commanded to be and

appear before said court by filing a written answer under oath within 21 days after

the date of service of this writ upon WELLS FARGO. In said answer, WELLS

FARGO is commanded to answer under oath the following:

       1.   What, if anything, WELLS FARGO is indebted to the said
            MEDTRONIC, INC., when this writ was served upon WELLS
            FARGO;
       2.   What effects, if any, of MEDTRONIC, INC. did WELLS FARGO
            have in its possession when this writ was served; and

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       3.   What other persons, if any, within WELLS FARGO’s knowledge,
            are indebted to MEDTRONIC, INC. or have effects belonging to
            MEDTRONIC, INC. in their possession.

       The officer executing this writ shall promptly serve the same according to the

requirements of law, and the mandates here of, and may do return as the law directs.

       WELLS FARGO is further commanded NOT to pay to MEDTRONIC, INC.

any debt or to deliver to it any effects, pending further order of this Court. Herein

fail not, but make due answer as the law directs.

TO: MEDTRONIC, INC., DEFENDANT

       You are hereby notified that certain properties alleged to be owned by

you have been garnished. If you claim any rights in such property you are

hereby advised:

       YOU HAVE A RIGHT TO REGAIN POSSESSION OF THE
       PROPERTY BY FILING A REPLEVY BOND. YOU HAVE A
       RIGHT TO SEEK TO REGAIN POSSESSION OF THE
       PROPERTY BY FILING WITH THE COURT A MOTION TO
       DISSOLVE THIS WRIT.

       Issued and given under my hand and the seal of said UNITED STATES

DISTRICT COURT FOR THE EASTERN DISTRICT OF TEXAS, BEAUMONT

DIVISION, on this the _______ day of ____________________, 2020.

                             ATTEST:                  David A. O’Toole, Clerk of Court
                                                      United States District Court for the
                                                                Eastern District of Texas

                                                    By:
                                                              Signature of Deputy Clerk

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